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                            FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
ANA DEGRACA, MARIA SOARES,          )
                                    )
      Plaintiffs,                   )
                                    )                      Docket No.: 1:13-cv-12432-MLW
v.                                  )
                                    )
UNO RESTAURANTS, LLC, LOUIE         )
PSALLIDAS, as its manager, and      )
GEORGE W. HERZ II, as its manager,  )
                                    )
      Defendants.                   )
____________________________________)

                    STIPULATION OF DISMISSAL WITH PREJUDICE 	  
                                                  	  
	  
	      The parties to the above-entitled action pursuant to FED.R.CIV.P. 41(a)(1)(A)(ii) hereby

stipulate and agree that all claims brought by Plaintiffs in this action shall hereby be dismissed

with prejudice, with the parties to bear their own costs and attorneys’ fees, and waiving interest

and all rights to appeal.

Dated: February 13, 2014                                 Respectfully submitted,

ANA DEGRACA AND MARIA SOARES                             UNO RESTAURANTS, LLC, LOUIE
                                                         PSALLIDAS, and GEORGE W. HERZ II
By their attorney
                                                         By their attorneys,
/s/ Sonja L. Deyoe
Sonja L. Deyoe, Esq. BBO665991                           VROUNTAS, AYER & CHANDLER, P.C.
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this date, I filed the foregoing “Stipulation of Dismissal with
Prejudice” with the Clerk of the Court by CM/ECF system and to the following counsel of
record. Notice of this filing will be sent by e-mail to all parties by operation of the Court’s
electronic filing system. Parties may access this filing through the Court’s system.

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Date: February 14, 2014                        /s/ Sonja L. Deyoe
                                               Sonja L. Deyoe, Esq.




	  
